
In re Hayes, Ray Charles; — Defendant; Applying For Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. H, No. 3-93-1622; to the Court of Appeal, First Circuit, No. 2008 KW 0353.
Denied. Untimely, not cognizable on collateral review, and repetitive. La. C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; cf. La.C.Cr.P. art. 930.4(A).
